Case: 6:16-cr-00056-GFVT-HAI             Doc #: 182 Filed: 08/16/17           Page: 1 of 2 - Page
                                            ID#: 470



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      LONDON
 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )     Criminal No. 6:16-cr-00056-GFVT-HAI
                                                  )
 V.                                               )
                                                  )
 LINDSEY JOHNSON,                                 )                     ORDER
                                                  )
         Defendant.                               )

                                       *** *** *** ***

       This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

filed by United States Magistrate Judge Hanly A. Ingram. [R. 178.] The recommendation

instructed the parties to file any specific written objections within three days after being served

with the decision, or else waive the right to further review. [See id. at 3.] Neither party has

objected, and the time to do so has now passed.

       Upon review, the Court is satisfied that Defendant Johnson knowingly and competently

pled guilty to the charged offense and that an adequate factual basis supports the plea as to each

essential element of the offense charged. Accordingly, the Court hereby ORDERS as follows:

       1. Judge Ingram’s Recommendation of Acceptance of Guilty Plea is ADOPTED as and

for the Opinion of the Court;

       2. Defendant Lindsey Johnson is ADJUDGED guilty of Count One of the Superseding

Indictment;

       3. The Defendant’s Jury Trial is CANCELLED; and

       4. A Sentencing Order shall be entered promptly.
Case: 6:16-cr-00056-GFVT-HAI        Doc #: 182 Filed: 08/16/17   Page: 2 of 2 - Page
                                       ID#: 471



     This the 16th day of August, 2017.




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